          CASE 0:15-cr-00235-JNE-TNL Doc. 18 Filed 08/21/15 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                     Case No: 15-cr-235 (7) JNE/TNL

               Plaintiff,

v.
                                                           ORDER OF PRELIMINARY
                                                      DETENTION PENDING HEARING
                                                      PURSUANT TO BAIL REFORM ACT
Albert Donell Payne (7),
Aka Blac

               Defendant.
               _________________________________________________

               Upon motion of the United States it is ORDERED that a detention/arraignment

hearing is set for August 26, 2015 at 9:30 a.m. before Magistrate Judge Becky R. Thorson, 3A, US

Courthouse, 316 N. Robert Street, St. Paul, Minnesota. Pending this hearing, the Defendant shall

be held in custody by the United States Marshal and produced for the hearing.


Dated: August 21, 2015                                s/Hildy Bowbeer
                                                      Hildy Bowbeer
                                                      U.S. Magistrate Judge



If not held immediately upon defendant's first appearance, the hearing may be continued for up to
three days upon motion of the Government, or up to five days upon motion of the defendant.
18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142 are present.
Subsection (1) sets forth the grounds that may be asserted only by the attorney for the
Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for
the Government or upon the judicial officer's own motion if there is a serious risk that the
defendant (a) will flee; or (b) will obstruct or attempt to obstruct justice, to threaten, injure, or
intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.
